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                                 No. 21-30382

              United States Court of Appeals for the Fifth Circuit

                            MICHAEL ASHFORD
                                      Plaintiff-Appellant

                        AEROFRAME SERVICES, LLC
                                    Defendant-Appellant

                            ROGER A. PORTER
                                      Third Party Defendant-Appellant

                                         v.

                AVIATION TECHNICAL SERVICES, INC.
                                 Defendant-Appellee


                On Appeal from the United States District Court
                    for the Western District of Louisiana
                       Civil Action No. 2:19-cv-00610


       UNOPPOSED MOTION TO STAY BRIEFING DEADLINES

R. Patrick Vance (LA #13008)              Samuel B. Gabb (LA # 22378)
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      In accordance with Federal Rule of Appellate Procedure 27 and Fifth Circuit

Rule 27.4, Defendant-Appellee, Aviation Technical Services, Inc. (“ATS”),

respectfully moves the Court to stay all briefing deadlines in this matter pending this

Court’s disposition of ATS’s pending Motion to Dismiss for Lack of Jurisdiction,

filed August 2, 2021. The granting of the stay requested herein will allow for the

conservation of time and resources of the parties and this Court, and the fair

administration of justice.

      Accordingly, ATS prays that the Court grant the instant motion and issue an

order staying all briefing deadlines in this matter pending this Court’s disposition of

ATS’s pending Motion to Dismiss for Lack of Jurisdiction.

Dated: September 10, 2021        Respectfully submitted,

                                 /s/ Brett S. Venn
                                 R. PATRICK VANCE (LA #13008)
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                         CERTIFICATE OF SERVICE
      I hereby certify that on September 10, 2021, I electronically filed the

foregoing with the Clerk of the Court for the United States Court of Appeals for the

Fifth Circuit by using the CM/ECF system. I certify that service will be made upon

the parties listed below by the CM/ECF system or by electronic mail.

Dated: September 10, 2021       Respectfully submitted,

                                /s/ Brett S. Venn
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                                Technical Services, Inc.
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        STATEMENT PURSUANT TO FIFTH CIRCUIT RULE 27.4:

      Counsel for Defendant-Appellee, Aviation Technical Services, Inc. has

contacted counsel for each of the Appellants regarding this motion. Counsel for

Appellants have indicated that their respective clients do not oppose this motion.

Dated: September 10, 2021.      Respectfully submitted,

                                /s/ Brett S. Venn
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                      CERTIFICATE OF COMPLIANCE

      1.    This Motion to Stay Briefing Deadlines contains 113 words, in

compliance with Fed. R. App. P. 27(d)(2)(A).

      2.    This Motion complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this

Motion has been prepared in a proportionally spaced typeface using Microsoft Word

in 14 pt. Times New Roman font.

      September 10, 2021                     Respectfully Submitted

                                             /s/ Brett S. Venn
                                             Brett S. Venn
                                             Attorney for Defendant-Appellee,
                                             Aviation Technical Services, Inc.
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                                   No. 21-30382

                United States Court of Appeals for the Fifth Circuit

                             MICHAEL ASHFORD
                                       Plaintiff-Appellant

                         AEROFRAME SERVICES, LLC
                                     Defendant-Appellant

                              ROGER A. PORTER
                                        Third Party Defendant-Appellant

                                          v.

                  AVIATION TECHNICAL SERVICES, INC.
                                   Defendant-Appellee


                 On Appeal from the United States District Court
                      for the Eastern District of Louisiana
                   The Honorable Judge Martin L.C. Feldman
                         Civil Action No. 2:20-cv-2323


                                     ORDER



      IT IS ORDERED that Defendant-Appellee’s unopposed motion to stay

proceedings is GRANTED, and that the all briefing deadlines in the captioned matter

are stayed pending this Court’s disposition of ATS’s pending Motion to Dismiss for

Lack of Jurisdiction, filed August 2, 2021.

                                               ______________________________
                                               United States Circuit Judge/Clerk
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